     Case 1:18-cv-11642-VM-VF Document 239-1 Filed 07/19/21 Page 1 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)                 1:18-cv-11642-VM-DCF

                           Plaintiff,                   DECLARATION OF LILIN
             -against-                                  “FRANCIS” GUO

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI, JIA LIAN, XIAO YU,

                           Defendants,
             -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                            Nominal Defendant.



  LILIN “FRANCIS” GUO declares, pursuant to 28 U.S.C. 1746, as follows:

     1.      I am a representative of Robert Seiden (the “Receiver”) in his capacity as the

  Receiver over Link Motion Inc. (“LKM” or the “Company”) in the People’s Republic of China

  (“PRC”). In April 2019, the Receiver appointed me as the legal representative of an LKM

  subsidiary, NQ Mobile (Beijing) Co., Ltd., a wholly foreign owned entity (the “WFOE”) in

  the PRC. I submit this declaration in response to Defendant Vincent Wenyong Shi’s (“Shi”)

  Motion to discharge the Receiver and dissolve the preliminary injunction (the “Motion”).

  The Shutdown of LKM’s Operations in China

     2.      I understand that in the Motion Shi contends that I began to shut down the

  operations of the Company in 2019. I have never shut down any operations of the Company

  in the PRC, nor fired any LKM employee in any form. Quite the contrary, beginning in

  December of 2018 (four months before my appointment as an agent of the Receiver in April

                                             1
       Case 1:18-cv-11642-VM-VF Document 239-1 Filed 07/19/21 Page 2 of 7




    2019, as described further below), Shi forced the majority of employees to leave their jobs by

    suspending their wages. Shi also ransacked the Company’s office space in Beijing and

    removed its financial documents, carried away its business license and bank keys and company

    seals, formed new companies, and took the Company’s software applications to take the

    Company’s revenues.

        3.       Shi’s removal of the Company’s records caused damage to the Company. For

    example, in May 2019, the Beijing Tax Authority launched an inquiry into the WFOE. A copy

    of this inquiry with relevant translations is attached hereto as Exhibit A. Because Shi had

    refused to provide me with the WFOE’s records and had concealed or destroyed the

    information, we were unable to provide the tax authority with the documentation that it

    requested. As a result, the tax authority imposed an RMB10,000 yuan fine. A true and correct

    copy of the tax penalty with relevant translations is attached hereto as Exhibit B.

    The Disappearance of the Company’s Cash

        4.       In April of 2019, to secure and preserve LKM funds, in accordance with the

    shareholder resolution made by Link Motion International Limited in Hong Kong (a subsidiary

    of LKM), the Receiver appointed me as the legal representative of NQ Mobile (Beijing) Co.,

    Ltd., the WFOE in the PRC.             The WFOE’s previous legal representative was Zemin Xu

    (“Xu”), a close associate of Shi’s.

        5.       On April 18, 2019, I went to China Merchants Bank, where the WFOE accounts

    were held, and requested that the bank change the WFOE’s reserve seals, cancel Shi’s

    designation as the Person in Charge of Finance for the WFOE (this designation allowed Shi to

    be in control of WFOE finances 1), nullify the old reserve seals and keys, and not allow any


1
  Attached as Exhibit C is a true and correct copy of a State Administration of Taxation – Beijing document stating
that Shi was the Person in charge of Finance at the time.

                                                         2
       Case 1:18-cv-11642-VM-VF Document 239-1 Filed 07/19/21 Page 3 of 7




    transfer of company funds without my approval as the new legal representative. This was

    incredibly important as the WFOE held the vast majority of the Company’s funds in the PRC.

        6.       Xu then immediately filed a lawsuit in the People’s Court of Haidian District in

    Beijing, China (the “Haidian Court”) against me and the WFOE challenging my appointment

    as the WFOE’s legal representative. Soon after, Xu sought a conduct preservation order (the

    “Preservation Order”) which would stop the WFOE from changing the seals. The Preservation

    Order was granted. 2 The Preservation Order stopped me from accessing WFOE funds to pay

    staff wages and legal expenses. Although the Preservation Order was granted, Xu was still

    discharged, Shi’s status as the Person in Charge of Finance was still canceled, the seals and

    banking keys were still invalidated, and therefore Xu and Shi had no legal authority to access

    or transfer WFOE funds. I won both lawsuits on August 22, 2019 and December 24, 2019

    respectively. Then the Receiver and I successfully changed the reserve seals and regained

    access to the Company's bank accounts.

        7.        The Preservation Order was lifted in June of 2020, roughly a year after it was first

    issued. Upon completion of the change of reserve seals my team immediately investigated the

    Company's relevant bank accounts. My team thought there would be enough money to pay

    staff salaries and legal fees, but we quickly realized that the Company’s funds were stolen.

    This surprised us because it was our understanding that the Company maintained nearly all of

    its cash balances in the PRC, and on February 7, 2018, Shi filed an open letter to the SEC

    stating that the “Company’s cash, cash equivalents, term deposits and restricted cash as of the

    last reported results on September 30, 2017 totaled $248.8 million. Between September 30,


2
 Based upon my consultations with legal experts in the PRC, the issuance of the Preservation was improper. As
discussed in paragraph 9 below, I have filed lawsuits seeking damages against the Haidian Court based upon the
improper issuance of the Preservation Order and China Merchant’s Bank based on the violation of their contract
with the WFOE.

                                                        3
  Case 1:18-cv-11642-VM-VF Document 239-1 Filed 07/19/21 Page 4 of 7




2017 and December 31, 2017, the Company also received approximately $220 million more

in cash from Tongfang.” A true and correct copy of this letter is attached hereto as Exhibit D.

   8.      Based upon my investigation, in 29 different transactions between May and

November of 2019, Shi used the now-nullified seals and banking keys to transfer RMB 626

million (at the time valued at over USD $89 million) from the Company to a company called

Beijing NQ Mobile Technology Limited (a wholly-owned subsidiary of LKM that Shi still had

control of). A true and correct copy of these bank records are attached hereto as Exhibit E.

Xu was the legal representative for Beijing NQ Mobile Technology Limited.

   9.      In his Motion, Shi contends that an approximately $88 million transfer was related

to the Company’s repayment of a legitimate loan. Shi is trying to confuse the court, the

Receiver is challenging a different set of transfers totaling RMB 626 million (or approximately

$89 million) that are discussed in paragraph 8 above that occurred between May and November

2019. These $89 million in transfers were unauthorized and illegal, because once I was

appointed as the WFOE’s legal representative in China in April 2019, Shi and Xu no longer

had any legal authority over Company funds. They secretly and illegally made these transfers

without the Receiver’s consent. I have now filed lawsuits against the Haidian Court based on

their improper issuance of the Preservation Order, and China Merchant’s Bank based on their

violation of their contract with the WFOE. This litigation is ongoing.

   10.     Indeed, my team has discovered numerous other transfers of the Company’s equity

investments and funds from the WFOE’s accounts. This includes having an LKM subsidiary,

Qingyun Infinite Venture Capital Management Co., Ltd. (“Tianjin”), borrow RMB 225 million

between March 8 and March 15, 2017. Shi then transferred Tianjin to a third-party company

in October 2018. This same tactic was done with Zhengding Fangxin (“Zhengding”), which



                                            4
  Case 1:18-cv-11642-VM-VF Document 239-1 Filed 07/19/21 Page 5 of 7




borrowed RMB 70 million from the Company between February 6, and July 27, 2018.

Zhengding was transferred to one of Shi’s third-party companies in February of 2019 without

a third-party appraisal beforehand. LKM has never seen any return of Company funds from

these transactions.

Litigations by Former Employees Against the Company

   11.     As stated above, beginning in December 2018, Shi stopped paying employee

salaries, resulting in extensive labor litigation that began before the appointment of the

Receiver. Some employees had won their labor arbitrations before I was appointed as the legal

representative. However once appointed as the legal representative in April 2019, it became

my duty to manage these litigations.

   12.      It was incredibly difficult to manage these litigations (and to determine whether

these claims were valid) as Shi refused to provide me with company data and materials

including labor and personnel files, employee lists, entry dates, employment contracts, salary

records, as well as the Company’s financial books. My attorneys advised me that because I

couldn’t confirm the lawsuits underlying facts, it was my duty as the Receiver’s agent to protect

the interests of the Company and appeal the judgments. This was the only way make sure a

full and complete review of the facts was completed.

   13.     At the time I was appointed as the legal representative in April 2019, there were

ample funds in WFOE accounts to pay any judgments and legal expenses. But Shi diverted

the WFOE’s funds. This has prevented the WFOE from paying any of the judgments issued

in favor of the former employees.

   14.     As I am now the legal representative of the WFOE and the WFOE failed to meet

its payment obligations, I have been placed on the spending restriction list (the “Restriction



                                             5
  Case 1:18-cv-11642-VM-VF Document 239-1 Filed 07/19/21 Page 6 of 7




List”). This Restriction List would be referred to as a blacklist in America. I cannot travel by

air, purchase first class train tickets, check into hotels, send my kids to private schools, or even

visit my family abroad. The Restriction List is still in place. The only way for Mr. Guo’s

designation on the Restriction List to be dismissed is for Shi to return the stolen WFOE funds

so the Company can satisfy its debts. While Shi claims that the Receiver is paying me at the

expense of the Company’s employees, this is false. I have never paid myself with Company

funds.

The Criminal Investigation of Shi in the PRC

   15.     In late 2020, criminal judgments were entered in the Beijing Chaoyang District

People’s Court against Kang Tianhui and Shang Fengqi (the “Kidnappers”) for kidnapping

LKM’s Founder and former chief executive officer, Henry Lin in November of 2016. The

judgments were affirmed on appeal. Attached hereto as Exhibit F is a true and correct copy

of the lower court’s ruling and a translation of relevant excerpts. Attached hereto as Exhibit G

is a true and correct copy of the appeals court’s ruling and a translation of relevant excerpts.

As reflected in Exhibit F, the Kidnappers told Henry Lin that Shi had hired them. It is apparent

that this was a part of Shi’s scheme to gain control over the Company.

   16.        WFOE counsel has informed me that a criminal investigation of Shi has been

initiated concerning Lin’s kidnapping. Beijing Chaoyang District Police (the “Beijing Police”)

began the criminal case in August of 2018. As Shi misappropriated RMB440 million from an

LKM subsidiary (Xinjiang NQ Venture Capital Co., Ltd.), the Beijing Police are also

investigating Shi’s embezzlement and misappropriation of Company funds. The National

People’s Congress of the PRC is supervising this action through the Ministry of Public Security

of the PRC.



                                               6
      Case 1:18-cv-11642-VM-VF Document 239-1 Filed 07/19/21 Page 7 of 7




       17.     The WFOE’s counsel was informed by the Beijing police, and subsequently

   informed me, that Shi has fled the PRC through its southern border via illegal means and has

   avoided police detection. The WFOE’s counsel and I are cooperating with the Beijing Police

   on this matter and I will keep the Receiver informed of any further updates.

       I state under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: July 19, 2021

                                                    /s/ Lilin “Francis” Guo
                                                    Lilin “Francis” Guo




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